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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION



HOMELAND INSURANCE COMPANY OF
NEW YORK,
                                                   CIVIL ACTION NO. 1:20-cv-783
                        Plaintiff,

v.

CLINICAL PATHOLOGY
LABORATORIES, INC. AND SONIC
HEALTHCARE USA, INC.
                        Defendants.



      HOMELAND INSURANCE COMPANY OF NEW YORK’S ANSWER AND
     AFFIRMATIVE DEFENSES TO DEFENDANT AND COUNTERCLAIMANT
         CLINICAL PATHOLOGY LABORATORIES, INC.’S AMENDED
                         COUNTERCLAIMS

         Plaintiff and Counterclaim Defendant Homeland Insurance Company of New York
(“Homeland”), by and through counsel, hereby submits its answer and defenses to the
Amended Counterclaims [Doc. 46] of Defendant and Counterclaimant, Clinical Pathology
Laboratories, Inc. (“CPL”), states as follows:
                        ANSWER TO AMENDED COUNTERCLAIM

                                PRELIMINARY STATEMENT

         Through its Counterclaims, CPL brings causes of action against Homeland for breach
of contract and anticipatory breach of contract, and violations of Texas Insurance Code
Chapters 541 and 542. At its core, CPL alleges that Homeland breached two insurance
policies by refusing to cover CPL for certain claims made in Ireland that are covered by
those policies. CPL also alleges that Homeland acted in bad faith and in violation of Texas
Insurance Code Chapters 541 and 542 by failing to reasonably handle, investigate, adjust,
settle, and pay those claims, and by misrepresenting and/or failing to disclose certain key


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policy terms and conditions and their import.
ANSWER: Admitted that CPL brings the alleged causes of action against Homeland.
Denied that CPL is entitled to any of the relief it seeks. Except as expressly admitted,
Homeland denies the allegations set forth in this preliminary paragraph.


         The subject policies that Homeland issued to cover CPL—which have policy periods
of June 30, 2017 to June 30, 2018—were designed and placed to protect CPL from, among
other things, third-party liability claims brought anywhere in the world (the “2017 Policies”).
This coverage was sought by CPL because its operations have, at least at times, extended
beyond the borders of the United States.
ANSWER: Admitted that Homeland issued a primary and excess policy for the period of
June 30, 2017 to June 30, 2018 (the “2017 Policies”). Also admitted that part of this dispute
arises out of insurance CPL sought from Homeland with respect to third-party liability
claims brought outside the United States of America, its territories or possessions, Puerto
Rico and Canada. Except as expressly admitted, Homeland denies the allegations set forth in
this preliminary paragraph.


         CPL provided such international services from August 2010 to August 2013, for
example, when it provided laboratory services in conjunction with the Irish CervicalCheck
Program (“ICCP”)—a program that was established by the Irish government to screen
women for signs of cervical cancer. As part of the program, the Irish government contracted
with private laboratories like CPL to provide cytology and cancer-screening services (which
included reviewing and interpreting cervical slide samples).
ANSWER: Upon information and belief, admitted that CPL was engaged in certain
international services from August 2010 to August 2013, including its involvement in the
Irish CervicalCheck Program (“ICCP”). Further admitted that the ICCP was developed by
the Irish government to screen women for cervical cancer, and that the Irish government



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contracted with CPL (and its sister entities) as part of the ICCP. Except as expressly
admitted, Homeland denies the allegations set forth in this preliminary paragraph.


         In or around early 2018, it came to CPL’s attention that claims and lawsuits were
being filed by patients who were screened through the ICCP and who later developed
cervical cancer. The clinicians for some of these women had apparently been informed, at
some point beginning in February 2016, of the results of a re-review of their patient’s slides
under a quality improvement program. Some slides were alleged, on re-review, to potentially
contain abnormal cells that had allegedly not been identified by CPL during its participation
in the ICCP between August 2010 and August 2013. Some of those women and/or their
families were informed by their clinicians of the results of the re-reviews and ended up suing
certain participating laboratories for negligence and other causes of action (the “ICC
Claims”).
ANSWER: Upon information and belief, admitted that in 2018, CPL was aware that claims
and lawsuits were being filed by patients who were screened through the ICCP and later
developed cervical cancer. Denied that this was the first time CPL was on notice of, aware
of, or otherwise had constructive knowledge of these claims and lawsuits, and/or the facts
and circumstances that could give rise to the same.


         When CPL learned of these suits in 2018 it promptly notified Homeland of those
circumstances and/or claims and sought coverage under its 2017 Policies. Homeland, instead
of accepting its obligations under the policies, promptly retained insurance coverage counsel
and proceeded to engage in a purported claims investigation that lasted over two years.
During that time, and despite repeated requests for a coverage determination, Homeland
refused to take an official position on coverage for the ICC Claims. Homeland instead
flooded CPL and its counsel with unreasonable demands for information that Homeland
claimed was required for it to complete its coverage analysis. The reality is that, upon



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information and belief, Homeland had already made up its mind—it was going to deny
coverage—and so it requested extensive information hoping that it could manufacture a basis
for a denial.
ANSWER: Admitted that CPL tendered certain ICC claims to Homeland for coverage, and
that Homeland thereafter engaged in a reasonable coverage investigation. Except as
expressly admitted, Homeland denies the allegations set forth in this preliminary paragraph.


         In July 2020, after two-plus years of purportedly investigating the ICC Claims and
soon after an ICC Claim that triggered the policies settled—specifically, the Ms. S Claim—
Homeland finally issued a coverage determination. Not surprisingly, it was a denial.
ANSWER: Admitted that Homeland appropriately denied the Ms. S claim on July 10, 2020,
based on the information known to date. Except as expressly admitted, Homeland denies the
allegations set forth in this preliminary paragraph.


         Homeland’s denial was predicated on its contention that CPL misrepresented the
extent of its knowledge regarding the ICC Claims before the execution of the 2017 Policies.
Homeland also asserted that CPL’s alleged knowledge implicated the 2017 Policies’ prior
knowledge exclusion and that another entity’s alleged notice to its insurer of issues related to
the ICCP implicated the 2017 Policies’ prior notice exclusion. Homeland’s assertions,
however, were predicated on what other insured entities—not CPL—allegedly knew or did.
Homeland ignored and failed to mention the fact that the 2017 Policies contain a condition
providing that the knowledge of one insured shall not be imputed to another.
ANSWER: Admitted that Homeland’s coverage position was based, in part, on CPL
misstating the extent of its knowledge of the potential for additional claims against it,
including the ICC claims, as well as the efforts CPL reportedly undertook to conduct a
diligent inquiry into the same. Homeland denies that such misstatements were the sole basis
for Homeland’s appropriate denial of coverage for the Ms. S claim. Except as expressly



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admitted, Homeland denies the allegations set forth in this preliminary paragraph.


         Since July 2020 and the settlement of the Ms. S Claim, CPL has settled certain other
ICC Claims. Specifically, it has settled the Ms. A Claim, Ms. OD Claim, and Ms. CR Claim.
Homeland has refused to cover the Ms. A Claim for the same reasons it has refused to cover
the Ms. S Claim. As of the date of this filing, Homeland has not articulated a coverage
position with respect to the Ms. OD and Ms. CR Claims. Instead, Homeland has filed a
declaratory judgment action in this case in which it seeks a declaration that it has no
obligation to cover, and therefore Homeland has expressed an intent to deny coverage for,
those claims and any other past, present, or future ICC Claims.
ANSWER: Upon information and belief, admitted that CPL has participated in settlements
of other ICC claims besides the Ms. S claim. Homeland further admits that in this action,
Homeland seeks, among other things, a judicial declaration regarding the extent of its
coverage obligations (if any) regarding the ICC claims. Except as expressly admitted,
Homeland denies the allegations set forth in this preliminary paragraph.


         Because Homeland has denied coverage for (or has expressed an intent to deny
coverage for) those claims, and because Homeland has failed to reasonably handle,
investigate, adjust, settle, and pay those claims, CPL brings causes of action against
Homeland for breach of contract and anticipatory breach of contract, and violations of Texas
Insurance Code Chapters 541 and 542. Those causes of action and the bases upon which they
are predicated are explained further below.
ANSWER: Admitted that CPL brings the alleged causes of action against Homeland.
Denied that CPL is entitled to any of the relief it seeks. Except as expressly admitted,
Homeland denies the allegations set forth in this preliminary paragraph.
                                         THE PARTIES

         1.       Counter-Plaintiff CPL is a corporation organized and existing under the laws of


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Texas, with its principal place of business in Texas.

ANSWER: Upon information and belief, admitted.


         2.       Counter-Defendant Homeland is a corporation organized and existing under

the laws of New York, with its principal place of business in Minnesota.

ANSWER: Admitted.
                                  JURISDICTION AND VENUE

         3.       The Court has subject matter jurisdiction over this case under 28 U.S.C. §

1332(a). There is complete diversity of citizenship between CPL and Homeland. The

amount in controversy exceeds $2,000,000, exclusive of interest and other costs.

ANSWER: Admitted.


         4.       The Court has personal jurisdiction over Homeland as described herein, and

venue is proper in this District under 28 U.S.C. § 1391.

ANSWER: Admitted that the Court has personal jurisdiction over Homeland and venue is
proper in this District. Except as expressly admitted, Homeland denies the allegations of
paragraph 4.
                                    FACTUAL BACKGROUND

A.       The Irish CervicalCheck Program.
         5.       In January 2007, following the launch of Ireland’s “Strategy for Cancer

Control,” the country’s Minister of Health and Children established the Irish National Cancer

Screening Service (“NCSS”). 1


1
 On January 1, 2014, the NCSS became the National Screening Service (“NSS”), part of the Health and Wellbeing
Division of the Health Service Executive (“HSE”), Ireland’s governing health authority.



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ANSWER: Upon information and belief, admitted.


         6.       The purpose of the NCSS program was and is the prevention, screening,

detection, treatment, and management of cancer in Ireland.

ANSWER: Upon information and belief, admitted.


         7.       In September 2008, the NCSS established the ICCP to provide cervical cancer

screening services to women between the ages of twenty-five and sixty-five.

ANSWER: Upon information and belief, admitted.


         8.       The goal of the ICCP was and is to reduce the number of women in Ireland

who develop cervical cancer.

ANSWER: Upon information and belief, admitted.


B.       CPL is Engaged to Provide Cancer Screening Services for the NCSS.
         9.       CPL is an Austin-based medical laboratory that provides a broad range of

services, from cancer screening to facilitating COVID-19 testing.

ANSWER: Homeland is without sufficient information to form a belief as to the veracity of
the allegations contained in paragraph 9.


         10.      Between August 2010 and August 2013, CPL provided cervical cancer

screening services in conjunction with the ICCP.

ANSWER: Denied as phrased. Upon information and belief, the NCSS entered into a
contract with Sonic Healthcare (Ireland) Limited for the supply of cervical cytology
laboratory (liquid based cytology) screening services (the “NCSS Contract”). CPL was


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identified in the NCSS Contract under the “Laboratory(ies)” schedule.


C.       CPL Purchased the Homeland Policies to Cover Certain Risks.
         11.      CPL, like most companies, regularly purchases liability insurance to protect

itself from third-party liability risks. Since CPL is actively engaged in the medical field, it

has regularly purchased professional liability policies that are tailored to providers of health

and medical services. Such policies are designed to protect medical providers like CPL

from, among other things, malpractice and negligence-type claims made by patients.

ANSWER: Homeland is without sufficient information to form a belief as to the veracity of
the allegations contained in paragraph 11.


         12.      Because CPL’s operations have, at least at times, extended beyond the borders

of the United States (e.g., its work in conjunction with the ICCP), it has endeavored to

purchase and secure worldwide liability coverage. It indeed did so prior to June 30, 2014 and

after June 30, 2016.

ANSWER: Homeland is without sufficient information to form a belief as to the veracity of
the allegations contained in paragraph 12.


         13.      In that intervening period from June 30, 2014 to June 30, 2016, unbeknownst

to CPL, it purchased from Homeland primary and excess-level policies that only covered

claims made in the United States, Puerto Rico, and Canada. The policies issued to cover that

period did not cover claims made abroad (e.g., it did not cover claims made in Ireland).

ANSWER: Admitted that Homeland issued primary and excess policies to its insureds,
which included CPL, for the time periods from June 30, 2014 to June 30, 2016. Further


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admitted that those policies covered certain claims against the insureds, but only if made in
the U.S., including its territories or possessions, Puerto Rico, or Canada. Also admitted that
those policies did not cover claims made anywhere else, including Ireland. Except as
expressly admitted, Homeland denies the allegations set forth in paragraph 13.
D.       The Ms. OB Claim.
         14.      On April 7, 2016, a patient who participated in the ICCP and later developed

cervical cancer—Ms. OB—served CPL with a lawsuit that was pending in Ireland.

ANSWER: Upon information and belief, CPL was served with a copy of a lawsuit (filed in
Ireland) by Ms. OB. Denied that this was the first time CPL became aware of the Ms. OB
claim. Except as expressly admitted, Homeland denies the allegations set forth in paragraph
14.


         15.      Ms. OB also sued other laboratories. Her theory was that CPL and the other

laboratories negligently failed to detect early signs of her cervical cancer.

ANSWER: Upon information and belief, Ms. OB named several entities as defendants in
her lawsuit, including CPL, based on the alleged misreading of several of her slides prior to
her cancer diagnosis. Except as expressly admitted, Homeland denies the allegations set
forth in paragraph 15.


         16.      That same day, on April 7, 2016, CPL forwarded the Summons associated with

the Ms. OB claim to Homeland (although, upon information and belief, Homeland may have

already known about the Ms. OB Claim).

ANSWER: Admitted that in April 2016, Homeland received a copy of Ms. OB’s lawsuit.
Also admitted that in or around September 2014, Defendants’ broker notified Homeland of
the potential suit to be filed related to the Ms. OB claim. Except as expressly admitted,



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Homeland denies the allegations set forth in paragraph 16.


         17.      In its preliminary coverage analysis for the Ms. OB Claim, Homeland asserted

that the claim triggered the 2014-15 policies, that those policies did not provide worldwide

coverage, and that Homeland therefore had no obligation to cover the claim.

ANSWER: Admitted that in or around July 2015, Homeland provided a preliminary
analysis of coverage for the Ms. OB claim reserving rights under the applicable 2014 policy.
Among other things, Homeland notified CPL that General Condition (E) Territory limited
coverage to a claim or suit made against an insured in the U.S., its territories, Puerto Rico, or
Canada. But because Ms. OB’s solicitors had not yet provided written notice of an intent to
hold CPL liable, no “Claim” had yet been technically made for which the 2014 Homeland
policy could respond. Until such time as a claim or suit was filed in the United States, there
was nothing for Homeland to do. Except as expressly admitted, Homeland denies the
allegations set forth in paragraph 17.


         18.      The Ms. OB claim was subsequently resolved by CPL with no contribution

from Homeland.

ANSWER: Upon information and belief, admitted that the Ms. OB claim was resolved.
Further admitted that Homeland closed its file for the Ms. OB claim after receiving a letter
sent on behalf of all Sonic entities confirming that those entities would not be looking to
Homeland for coverage with respect to the Ms. OB claim. Except as expressly admitted,
Homeland denies the allegations set forth in paragraph 18.


         19.      The Ms. OB Claim did, however, cause CPL to realize that it lacked worldwide

coverage from Homeland for the period of June 30, 2014 to June 30, 2016.




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ANSWER: Homeland is without sufficient information to form a belief as to the veracity of
the allegations contained in paragraph 19.


          20.     CPL’s realization caused it to seek to secure worldwide coverage for

subsequent policy periods so that CPL would be fully and properly covered for claims made

outside the United States (including in Ireland).

ANSWER: Admitted that after discussing the Ms. OB claim with CPL’s broker, that
broker—on behalf of Defendants, MedLab, and Sonic Ireland, and at the direction of
Sonic—approached Homeland seeking to expand coverage to: (1) include claims made
outside the U.S. against existing U.S. insureds (i.e., CPL and Sonic USA), and (2) include
MedLab and Sonic Ireland as additional named insureds limited to coverage for cervical
cytology screening services provided under the Irish contract from August 2010 to June 2013
for claims made in the U.S. Except as expressly admitted, Homeland denies the allegations
set forth in paragraph 20.


E.        CPL Negotiated with Homeland to Expand Coverage for Certain Specified
          Risks, Including for Claims Made Outside the U.S.
          21.     During the negotiation and application process for the June 30, 2016 to June

30, 2017 Homeland policy, CPL sought to secure worldwide coverage. It sought to do so, in

part, so that it would be covered for any claims like the Ms. OB Claim that arose in the

future. To be clear, CPL was not aware of any such claims, or of any circumstances that may

lead to such claims, at that time. Nevertheless, CPL sought to have seamless worldwide

coverage to protect the company in the event that such claims or circumstances arose in the

future.

ANSWER: Admitted that after discussing the Ms. OB claim with CPL’s broker, that



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broker—on behalf of Defendants, MedLab, and Sonic Ireland, and at the direction of
Sonic—approached Homeland seeking to expand coverage to: (1) include claims made
outside the U.S. against existing U.S. insureds (i.e., CPL and Sonic USA), and (2) include
MedLab and Sonic Ireland as additional named insureds limited to coverage for cervical
cytology screening services provided under the Irish contract from August 2010 to June 2013
for claims made in the U.S. Upon information and belief, further admitted that Sonic
insisted on coverage for Sonic Ireland and MedLab for liability these entities might face in
the United States in connection with work performed by CPL in Texas related to the Irish
contract. Sonic considered any refusal to add MedLab or Sonic Ireland to the policy as a
“deal breaker.” Except as expressly admitted, Homeland denies the allegations set forth in
paragraph 21.


         22.      Fully understanding and appreciating CPL’s motivation for worldwide

coverage—indeed, Homeland had corresponded with CPL at-length regarding the OB

Claim—Homeland agreed to provide CPL with worldwide coverage. It did so through its

issuance of two policies, a primary policy and an excess policy that covered the period of

June 30, 2016 to June 30, 2017 (the “2016 Policies”), and a corresponding Worldwide

Territory Endorsement.

ANSWER: Admitted that Homeland agreed to the requested expansion of coverage,
beginning with the June 30, 2016 to June 30, 2017 policy period, conditioned upon the
veracity of the following warranties set forth on behalf of CPL, Sonic USA, MedLab, and
Sonic Ireland, in a letter dated July 27, 2016, provided on CPL letterhead by CPL’s then-
President and Director, and Sonic USA’s then-Chief Executive Officer and Director, Stephen
R. Shumpert (the “Warranty Letter”):
         The undersigned [Stephen R. Shumpert], on behalf of Sonic and any person
         proposed for coverage (the insureds) does hereby represent to OneBeacon
         Insurance and its writing company [Homeland] that:


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         The insureds, after diligent inquiry, are not aware of any claims against the
         insured(s) or any fact, circumstance, situation, transaction, event, act, error,
         or omission that may give rise to a claim against the insured(s) Sonic
         Healthcare (Ireland) Limited, Medlab Pathology, and CPL of Austin as
         respect the cervical cytology laboratory screening services conducted
         between 8/1/2010 to 6/30/2013 and all claims and facts, circumstances,
         situations, transactions, events, acts, errors, or omissions against the
         insured(s) that may result in a claim have been reported to prior insurance
         carrier(s).
         OneBeacon Insurance and its writing company will be issuing its policy in
         reliance upon the conditions and statements made in this letter and the
         application both of which will be deemed to be a part of the policy.
Further admitted that in reliance on the truth of the warranties in the July 27, 2016 Warranty
Letter, which were explicitly made on behalf of the insureds proposed for coverage,
including defendants CPL and Sonic USA, as well as MedLab and Sonic Ireland, Homeland
added the Worldwide Territory Endorsement (No. 13) and the Additional Named Insured
Endorsement (No. 24) to the 2016 policies, which respectively provided coverage for certain
claims made outside of the United States to entities domiciled in the United States (i.e.,
Sonic USA and CPL), and coverage for Sonic Ireland and MedLab for cervical cytology
screening services provided under the Irish contract from August 2010 to June 2013 for
claims made in the U.S. Also admitted that, as expressly stated in the Warranty Letter, that
Letter, including all conditions and statements made therein, were agreed to be a part of the
policy. Except as expressly admitted, Homeland denies the allegations set forth in paragraph
22.


         23.      Before it agreed to issue the Worldwide Territory Endorsement, Homeland

asked CPL whether it was aware of any potential claims, or circumstances that may lead to

potential claims, related to its ICCP work. CPL did not and indeed represented as much in a

letter (the “2016 Letter”) that preceded the issuance of the 2016 Policies. The 2016 Letter

was not attached to either of the 2016 Policies nor was it included as an endorsement. The

2016 Policies also did not attach any application.


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ANSWER: Admitted that Homeland issuing the expanded coverage based on the veracity
of the warranties set forth in the Warranty Letter (as outlined above). Except as expressly
admitted, Homeland denies the allegations set forth in paragraph 23.


         24.      The next year, CPL purchased the 2017 Policies. 2

ANSWER: Admitted that the 2017 Policies were both renewals of the corresponding
policies for the prior policy year incorporating the same terms and conditions as the 2016
Policies—including the representations in the July 27, 2016 Warranty Letter on which
Homeland had relied and continued to rely. Except as expressly admitted, Homeland denies
the allegations set forth in paragraph 24.


         25.      The 2017 Policies were issued after a new application process and new and

additional negotiations regarding the specific terms, conditions, and endorsements that would

be contained within the 2017 Policies.

ANSWER: Admitted that the 2017 Policies were both renewals of the corresponding
policies for the prior policy year incorporating the same terms and conditions as the 2016
Policies—including the representations in the July 27, 2016 Warranty Letter on which
Homeland had relied and continued to rely. Further admitted that during the renewal
process, Homeland and CPL discussed other terms, conditions, and/or endorsements to
potentially be incorporated into the 2017 Policies. Denied that any such discussions negated
the incorporation of the 2016 Policies’ terms and conditions. Except as expressly admitted,
Homeland denies the allegations set forth in paragraph 25.


2
 The 2017 Policies at issue are Homeland’s primary Medical Facilities and Providers Professional Liability
Insurance Policy (No. MFL-004062-0617) (the “2017 Primary Policy”) and an Excess Medical Facilities Liability
Insurance Policy (No. MFX-002013-0617) (the “ 2017 Excess Policy,”), which cover Sonic Healthcare Investments,
G.P. and several additional named insureds, including CPL, for the policy period of June 30, 2017 to June 30, 2018.
The 2017 Primary Policy has been filed at Dkt. No. 18-1. The 2017 Excess Policy has been filed at Dkt. No. 18-2.



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         26.      Put differently, for the issuance of the 2017 Policies, Homeland and CPL did

not rely on the application and negotiations for the 2016 Policies; rather, they started anew.

ANSWER: Denied.


         27.      And, to be sure, the 2016 Policies and 2017 Policies are not identical.

ANSWER: Admitted that the 2017 Policies are not identical to the 2016 Policies. Except as
expressly admitted, Homeland denies the allegations set forth in paragraph 27.


         28.      For example, the 2017 Policies and 2016 Policies do not have identical

endorsements.

ANSWER: Admitted that the 2017 Policies and the 2016 Policies do not have identical
endorsements. Except as expressly admitted, Homeland denies the allegations set forth in
paragraph 28.


         29.      The 2017 Policies did not attach an application or the 2016 Letter, nor did the

2017 Policies include an endorsement expressly incorporating the 2016 Letter.

ANSWER: Admitted that in the 2016 Warranty Letter, the parties expressly agreed that the
“letter and the application” would “be deemed to be a part of the policy.” Further admitted
that the application itself, which was signed on behalf of CPL and the other insureds, stated,
among other things, that: “[Homeland] will maintain the information contained in and
submitted with this Application on file and along with the Application will be considered
physically attached to, part of, and incorporated into the policy, if issued.” Except as
expressly admitted, Homeland denies the allegations set forth in paragraph 29.


         30.      The 2017 Policies provide broad coverage for “Loss” and “Defense Expenses”



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arising out of “Claims” for, among other things, “Professional Services Wrongful Acts”

occurring on or after October 1, 2000, provided that the Claim is first made during the policy

period or during an extended reporting period of thirty-six months. See Primary Policy, at

Declarations, § I(A) (Dkt. 18-1).

ANSWER: The Policies are written contracts that speak for themselves and are the best
evidence of their contents. The Policies also contain conditions and terms, such as
retroactive dates, that vary based on the insured. Homeland denies the allegations in
paragraph 30 to the extent that they are incomplete and inconsistent with the terms,
conditions and full language of the Policies. Homeland denies any additional factual
allegations and legal conclusions regarding the terms, conditions and language in paragraph
30 as alleged in CPL’s Amended Counterclaims. Additionally, as asserted in Homeland’s
First Amended Complaint [Doc. 21] and proposed Second Amended Complaint, Homeland
is entitled to reformation of the Policies, and/or to void the Worldwide Endorsement (No. 13)
in its entirety, and the Additional Named Insured Endorsement (Nos. 3 and 22) as to the
Defendants and other insureds (i.e., CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic
Healthcare (Ireland) Limited, and Sonic Healthcare Ireland) with respect to any claims
arising out of work related to the Irish contract for cervical cytology screening services.


         31.      The 2017 Policies define “Loss” as, among other things, “settlements . . . an

Insured is legally obligated to pay as a result of a Claim.” See id. at § II(X) (Dkt. 18-1).

ANSWER: Homeland admits that the Primary Policy contains the language quoted in
paragraph 31. The Policies are written contracts that speak for themselves and are the best
evidence of their contents. Homeland denies the allegations in paragraph 31 to the extent
that they are incomplete and inconsistent with the terms, conditions and full language of the
Policies. Homeland denies any additional factual allegations and legal conclusions regarding
the terms, conditions and language in paragraph 31, as alleged in CPL’s Amended


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Counterclaims. Additionally, as asserted in Homeland’s First Amended Complaint [Doc. 21]
and proposed Second Amended Complaint, Homeland is entitled to reformation of the
Policies, and/or to void the Worldwide Endorsement (No. 13) in its entirety, and the
Additional Named Insured Endorsement (Nos. 3 and 22) as to the Defendants and other
insureds (i.e., CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic Healthcare (Ireland)
Limited, and Sonic Healthcare Ireland) with respect to any claims arising out of work related
to the Irish contract for cervical cytology screening services.


         32.      The 2017 Policies define “Defense Expenses” as, among other things, “the

reasonable fees of attorneys, experts and consultants and costs and expenses incurred in the

investigation, adjustment, defense or appeal of a Claim.” See id. at § II(H) (Dkt. 18-1)

ANSWER: Homeland admits that the Primary Policy contains the language quoted in
paragraph 32. The Policies are written contracts that speak for themselves and are the best
evidence of their contents. Homeland denies the allegations in paragraph 32 to the extent
that they are incomplete and inconsistent with the terms, conditions and full language of the
Policies. Homeland denies any additional factual allegations and legal conclusions regarding
the terms, conditions and language in paragraph 32, as alleged in CPL’s Amended
Counterclaims. Additionally, as asserted in Homeland’s First Amended Complaint [Doc. 21]
and proposed Second Amended Complaint, Homeland is entitled to reformation of the
Policies, and/or to void the Worldwide Endorsement (No. 13) in its entirety, and the
Additional Named Insured Endorsement (Nos. 3 and 22) as to the Defendants and other
insureds (i.e., CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic Healthcare (Ireland)
Limited, and Sonic Healthcare Ireland) with respect to any claims arising out of work related
to the Irish contract for cervical cytology screening services.


         33.      Coverage for Defense Expenses do not erode the limits of the 2017 Policies



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(even for coverage provided under the Worldwide Territory Endorsement).

ANSWER: The Policies are written contracts that speak for themselves and are the best
evidence of their contents. The Policies also contain conditions and terms, such as
retroactive dates, that vary based on the insured. Homeland denies the allegations in
paragraph 33 to the extent that they are incomplete and inconsistent with the terms,
conditions and full language of the Policies. Homeland denies any additional factual
allegations and legal conclusions regarding the terms, conditions and language in paragraph
33 as alleged in CPL’s Amended Counterclaims. Additionally, as asserted in Homeland’s
First Amended Complaint [Doc. 21] and proposed Second Amended Complaint, Homeland
is entitled to reformation of the Policies, and/or to void the Worldwide Endorsement (No. 13)
in its entirety, and the Additional Named Insured Endorsement (Nos. 3 and 22) as to the
Defendants and other insureds (i.e., CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic
Healthcare (Ireland) Limited, and Sonic Healthcare Ireland) with respect to any claims
arising out of work related to the Irish contract for cervical cytology screening services.


         34.      The Policies define “Claim” as “any written notice received by an Insured that

any person or entity intends to hold an Insured responsible for a Wrongful Act or an

Occurrence.” See id. at § II(F) (Dkt. 18-1).

ANSWER: Homeland admits that the Primary Policy contains the language quoted in
paragraph 34. The Policies are written contracts that speak for themselves and are the best
evidence of their contents. Homeland denies the allegations in paragraph 34 to the extent
that they are incomplete and inconsistent with the terms, conditions and full language of the
Policies. Homeland denies any additional factual allegations and legal conclusions regarding
the terms, conditions and language in paragraph 34, as alleged in CPL’s Amended
Counterclaims. Additionally, as asserted in Homeland’s First Amended Complaint [Doc. 21]
and proposed Second Amended Complaint, Homeland is entitled to reformation of the



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Policies, and/or to void the Worldwide Endorsement (No. 13) in its entirety, and the
Additional Named Insured Endorsement (Nos. 3 and 22) as to the Defendants and other
insureds (i.e., CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic Healthcare (Ireland)
Limited, and Sonic Healthcare Ireland) with respect to any claims arising out of work related
to the Irish contract for cervical cytology screening services.


         35.      The Policies define “Professional Services Wrongful Act” as, among other

things, “any actual or alleged act, error or omission . . . in rendering, or failing to render,

Medical Services.” See id. at § II(LL) (Dkt. 18-1).

ANSWER: Homeland admits that the Primary Policy contains the language quoted in
paragraph 35. The Policies are written contracts that speak for themselves and are the best
evidence of their contents. Homeland denies the allegations in paragraph 35 to the extent
that they are incomplete and inconsistent with the terms, conditions and full language of the
Policies. Homeland denies any additional factual allegations and legal conclusions regarding
the terms, conditions and language in paragraph 35, as alleged in CPL’s Amended
Counterclaims. Additionally, as asserted in Homeland’s First Amended Complaint [Doc. 21]
and proposed Second Amended Complaint, Homeland is entitled to reformation of the
Policies, and/or to void the Worldwide Endorsement (No. 13) in its entirety, and the
Additional Named Insured Endorsement (Nos. 3 and 22) as to the Defendants and other
insureds (i.e., CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic Healthcare (Ireland)
Limited, and Sonic Healthcare Ireland) with respect to any claims arising out of work related
to the Irish contract for cervical cytology screening services.


         36.      The 2017 Primary Policy provides the aforementioned coverage subject to a

$1,000,000 per claim limit and a $3,000,000 aggregate limit. See 2017 Primary Policy, at

Declarations (Dkt. 18-1)


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ANSWER: Admitted that the Primary Policy contains a $1,000,000 per claim limit and a
$3,000,000 aggregate limit, subject to the Primary Policy’s terms and conditions. The
Primary Policy is a written contracts that speaks for itself and is the best evidence of its
contents.      Homeland denies any additional factual allegations and legal conclusions
regarding the terms, conditions and language in paragraph 36, as alleged in CPL’s Amended
Counterclaims. Additionally, as asserted in Homeland’s First Amended Complaint [Doc. 21]
and proposed Second Amended Complaint, Homeland is entitled to reformation of the
Policies, and/or to void the Worldwide Endorsement (No. 13) in its entirety, and the
Additional Named Insured Endorsement (Nos. 3 and 22) as to the Defendants and other
insureds (i.e., CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic Healthcare (Ireland)
Limited, and Sonic Healthcare Ireland) with respect to any claims arising out of work related
to the Irish contract for cervical cytology screening services.


         37.      The 2017 Excess Policy provides the aforementioned coverage subject to a

$5,000,000 per claim limit and $5,000,000 aggregate limit. See 2017 Excess Policy, at

Declarations (Dkt. 18-2).

ANSWER: Admitted that the Excess Policy contains a $5,000,000 per claim limit and a
$5,000,000 aggregate limit, subject to the Excess Policy’s terms and conditions. The Excess
Policy is a written contract that speaks for itself and is the best evidence of its contents.
Homeland denies any additional factual allegations and legal conclusions regarding the
terms, conditions and language in paragraph 37, as alleged in CPL’s Amended
Counterclaims. Additionally, as asserted in Homeland’s First Amended Complaint [Doc. 21]
and proposed Second Amended Complaint, Homeland is entitled to reformation of the
Policies, and/or to void the Worldwide Endorsement (No. 13) in its entirety, and the
Additional Named Insured Endorsement (Nos. 3 and 22) as to the Defendants and other
insureds (i.e., CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic Healthcare (Ireland)



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Limited, and Sonic Healthcare Ireland) with respect to any claims arising out of work related
to the Irish contract for cervical cytology screening services.


         38.      CPL has paid the requisite premiums for the 2017 Policies.

ANSWER: Admitted.


F.       The ICC Claims, CPL’s Notice to Homeland, and the Ms. S Claim.
         39.      In or around early 2018, it came to CPL’s attention that certain physicians of

women who were screened through the ICCP and later developed cervical cancer were

informed, at some point after February 2016, of the results of a re-review of their patient’s

cervical check slides under a quality improvement program. Some of those physicians chose

to share this information with their patients.

ANSWER: Upon information and belief, admitted that prior to 2016, the results of the
“Cancer Audit Reviews” (“CARs”) for slides read as part of the ICCP were considered to be
for educational purposes and were not disclosed to patients. Further admitted that in or
around February 2016, the NSS implemented a protocol change which resulted in CAR
results being reported to the patients’ treating physicians. Also admitted that the NSS
provided notice of this change in protocol to at least MedLab by letter dated February 3,
2016. Upon information and belief, denied that it was not until 2018 that CPL first learned
of this development. Except as expressly admitted, Homeland denies the allegations set
forth in paragraph 39.


         40.      Some slides were alleged on re-review to contain abnormal cells that had

allegedly not been identified by CPL during its participation in the ICCP between August

2010 and August 2013. This is typical with this type of screening program.



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ANSWER: Upon information and belief, admitted that there are multiple slides CPL is
alleged to have misread during its involvement in the ICCP. Homeland is without sufficient
information to form a belief as to the veracity of the remainder of the allegations contained in
paragraph 40.


         41.      Some of those women and/or their families brought the ICC Claims, i.e.,

lawsuits against certain participating laboratories for negligence and other causes of action.

ANSWER: Upon information and belief, admitted, but denied to the extent the allegations
in paragraph 41 are incomplete. Some of the affected women and/or their families may have
potentially pursued claims without filing lawsuits.


         42.      At around this same time, CPL was informed of the fact that four lawsuits

pending in Ireland—the Ms. C, Ms. T, Ms. G, and Ms. P lawsuits—involved slides that had

allegedly been interpreted by CPL during its participation in the ICCP. Shortly thereafter,

CPL notified Homeland of this situation.

ANSWER: Admitted that CPL notified Homeland of claims asserted by Ms. C, Ms. T,
Ms. G, and Ms. P. Homeland is without sufficient information to form a belief as to the
veracity of the remainder of the allegations contained in paragraph 42.


         43.      On March 27, 2018, Homeland issued a letter to CPL through which it reserved

its right to deny coverage for the Ms. P Claim.

ANSWER: Admitted that on March 27, 2018, Homeland sent CPL a letter that addressed
several issues, including Homeland’s reservations of its rights under the policies and the law,
but denied that paragraph 43 fully or fairly characterizes that letter. Except as expressly
admitted, Homeland denies the allegations set forth in paragraph 43.



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         44.      In its March 27, 2018 reservation of rights letter, Homeland requested

information through no less than twenty information requests.

ANSWER: Admitted that in its March 27, 2018 letter, Homeland included several
reasonable requests for information and documents that it needed in order to allow it to
promptly and fairly complete its coverage investigation, but denied that paragraph 44 fully or
fairly characterizes that letter.     Except as expressly admitted, Homeland denies the
allegations set forth in paragraph 44.


         45.      For example, in its March 27, 2018 reservation of rights letter, Homeland

requested information regarding MedLab Pathology’s “bulk claim submission” to its insurer,

Vero.

ANSWER: Admitted that in its March 27, 2018 letter, in order to complete its coverage
investigation, Homeland requested, among other things, a copy of a bulk claim report that
MedLab Pathology had purportedly submitted to another one of its insurers, Vero, in
February or March 2016. Denied that paragraph 45 fully or fairly characterizes that letter.
Except as expressly admitted, Homeland denies the allegations set forth in paragraph 45.


         46.      MedLab Pathology is, like CPL, an insured under the 2017 Policies but only

for claims made in the United States, Puerto Rico, or Canada.

ANSWER: Admitted that MedLab Pathology was listed as an additional insured under the
2017 Policies. The Policies are written contracts that speak for themselves and are the best
evidence of their contents. Homeland denies the allegations in paragraph 46 to the extent
that they are incomplete and inconsistent with the terms, conditions and full language of the
Policies. Homeland denies any additional factual allegations and legal conclusions regarding



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the terms, conditions and language in paragraph 46, as alleged in CPL’s Amended
Counterclaims. Additionally, as asserted in Homeland’s First Amended Complaint [Doc. 21]
and proposed Second Amended Complaint, Homeland is entitled to reformation of the
Policies, and/or to void the Worldwide Endorsement (No. 13) in its entirety, and the
Additional Named Insured Endorsement (Nos. 3 and 22) as to the Defendants and other
insureds (i.e., CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic Healthcare (Ireland)
Limited, and Sonic Healthcare Ireland) with respect to any claims arising out of work related
to the Irish contract for cervical cytology screening services.


         47.      Homeland asserted in the March 27, 2018 reservation of rights letter that

MedLab Pathology’s bulk claim submission to Vero regarded, among other patients, Ms. P.

ANSWER: Admitted that in its March 27, 2018 letter, in order to complete its coverage
investigation, when Homeland requested, among other things, a copy of a bulk claim report
that MedLab Pathology had purportedly submitted to another one of its insurers, Vero, in
February or March 2016, Homeland noted that it understood that bulk claim report may have
included the Ms. P claim. Denied that paragraph 47 fully or fairly characterizes that letter.
Except as expressly admitted, Homeland denies the allegations set forth in paragraph 47.


         48.      In its March 27, 2018 reservation of rights letter, Homeland also requested

information regarding when CPL first learned of the ICC Claims and the potential for the

ICC Claims.

ANSWER: Admitted that in its March 27, 2018 letter, Homeland included several
reasonable requests for information and documents that it needed in order to allow it to
promptly and fairly complete its coverage investigation, including information related to
when CPL was first on notice or otherwise aware of potential ICC claims. Denied that
paragraph 48 fully or fairly characterizes that letter.      Except as expressly admitted,


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Homeland denies the allegations set forth in paragraph 48.


         49.      In its March 27, 2018 reservation of rights letter, Homeland indicated that it

was aware of the fact that other claims like the Ms. P Claim involved CPL; such claims

included the Ms. H Claim, Ms. T Claim, and Ms. C Claim (among others). Homeland

requested information regarding those ICC Claims.

ANSWER: Admitted that in its March 27, 2018 letter, Homeland provided a list of other
claims/lawsuits that were “potentially substantively related,” including the Ms. H, Ms. T, and
Ms. C claims, and asked for confirmation on the status of those actions and “whether they do
or may involve claims against CPL, Inc.” Denied that paragraph 49 fully or fairly
characterizes that letter. Except as expressly admitted, Homeland denies the allegations set
forth in paragraph 49.


         50.      Before coverage for the Ms. P claim became necessary, it was settled and

another insurer, Vero, contributed toward and covered any contribution required of CPL.

Vero subsequently asserted that it should not have made, and indeed was not required to

make, any contribution toward CPL’s obligations. That was because CPL was not covered

by Vero.

ANSWER: Admitted that while Homeland was in the middle of its coverage investigation
for the Ms. P claim, it received notice on April 26, 2018 that no further action from
Homeland would be required. Homeland is without sufficient information to form a belief as
to the veracity of the remainder of the allegations contained in paragraph 50.


         51.      On May 15, 2018, CPL provided Homeland with notice of dozens of potential

ICC Claims. Specifically, CPL provided Homeland with a list of patients for whom CPL had


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read slides under the ICCP and for whom a re-review was conducted pursuant to the quality

improvement program.

ANSWER: Admitted that on or about May 15, 2018, CPL reported a list of 101 slides to
Homeland that CPL believed may result in future claims against it. Except as expressly
admitted, Homeland denies the allegations of paragraph 51.


         52.      One of those potential ICC Claims regarded Ms. S. Others regarded Ms. A,

Ms. OD, and Ms. CR.

ANSWER: Admitted that on or about May 15, 2018, CPL reported a list of 101 slides to
Homeland that CPL believed may result in future claims against it, including slides related to
Ms. S, Ms. A, Ms. OD, and Ms. CR. Except as expressly admitted, Homeland denies the
allegations of paragraph 52.


         53.      In February 2012, Ms. S underwent a cervical smear test under the ICCP. The

cervical sample was sent to CPL for review, and CPL issued a cytology report finding no

evidence of abnormalities.

ANSWER: Homeland is without sufficient information to form a belief as to the veracity of
the remainder of the allegations contained in paragraph 53.


         54.      On April 23, 2013, Ms. S was diagnosed with invasive cervical cancer.

ANSWER: Homeland is without sufficient information to form a belief as to the veracity of
the remainder of the allegations contained in paragraph 54.


         55.      The slide(s) CPL read for Ms. S were subsequently re-reviewed under the

quality improvement program. It was alleged on re-review that the Ms. S slide(s) CPL had


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read contained abnormal cells that CPL had not identified in 2012.

ANSWER: Homeland is without sufficient information to form a belief as to the veracity of
the remainder of the allegations contained in paragraph 55.


         56.      On or about August 7, 2018, Ms. S and her partner filed suit against other

defendants (i.e., not CPL) in Cause No. 2018/7164P in the High Court of Ireland, seeking

personal injury damages for alleged medical negligence. CPL was not initially named as a

defendant in the lawsuit but was added by an amended pleading in May 2019.

ANSWER: Upon information and belief, admitted that the Ms. S Litigation was filed on or
about August 7, 2018, and that on or about April 29, 2019, a motion was filed to join CPL
and Sonic Healthcare (Ireland) Limited as defendants in the litigation. Except as expressly
admitted, Homeland denies the allegations of paragraph 56.


G.       Homeland Retains Coverage Counsel and Conducts a Two-Plus Year
         “Investigation” of Claims It Immediately Decided to Deny.
         57.      In March 2018, before CPL’s May 15, 2018 notice to Homeland, and before

Homeland could have possibly conducted a meaningful investigation of the ICC Claims,

Homeland retained insurance coverage counsel.

ANSWER: Admit that Homeland retained counsel to assist in a fair and reasonable
investigation. Except as expressly admitted, Homeland denies the allegations set forth in
paragraph 57.


         58.      CPL provided Homeland with timely notice of the ICC Claims.

ANSWER: Denied.




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         59.      Upon retainer, Homeland’s insurance coverage counsel took over Homeland’s

“investigation” and handling of the ICC Claims.

ANSWER: Denied.


         60.      CPL was in fact instructed by this outside counsel not to communicate with

Homeland or any of Homeland’s claims-handlers regarding the ICC Claims, but only with

Homeland’s outside counsel.

ANSWER: Based on investigation to date, Homeland is unable to admit or deny.


         61.      By retaining coverage counsel before CPL had even provided notice of most of

the ICC Claims (and before conducting any meaningful claims investigation), Homeland

positioned itself for, and indeed was intent on, denial of the ICC Claims.

ANSWER: Denied.


         62.      Coverage under liability insurance policies like the 2017 Policies is primarily

determined by the underlying pleadings and the language of the policies. Through outside

coverage counsel, however, and following CPL’s May 15, 2018 notice, rather than inform

CPL of its coverage position based on a review of the pleadings and policy, Homeland

instead conducted a drawn-out, two-plus-year investigation into the ICC Claims requesting

information and materials entirely unrelated to coverage and delaying any meaningful

attempt at settlement, only to ultimately deny coverage based on information Homeland had

been sitting on for years. Homeland further failed to pay defense costs associated with the

ICC Claims during that period.



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ANSWER: Denied.


         63.      Specifically, Homeland sent information requests to CPL including on April

20, 2016, February 21, 2018, February 2, 2018, March 27, 2018, March 29, 2018, May 24,

2018, May 29, 2018, June 11, 2018, July 24, 2018, August 9, 2018, September 19, 2018,

October 12, 2018, November 6, 2018, November 26, 2018, February 4, 2019, May 6, 2019,

May 31, 2019, August 12, 2019, October 14, 2019, November 11, 2019, January 9, 2020,

and May 26, 2020. These requests largely asked for information like internal board meeting

minutes, confidential and court-sealed personal health and other information of cervical

cancer patients and their cases, contracts between CPL and foreign insureds not parties to

these claims, documents and knowledge in the possession of Aon (the broker), internal

employment documents of CPL, reasons past employees of CPL had left the laboratory,

knowledge of and/or notice by any of the other insured entities, and other documents and

correspondence entirely unrelated to a coverage analysis under Texas law. In other words,

Homeland requested information unnecessary to a determination of coverage within the

terms of the 2017 Policies and the allegations in the underlying complaints of the ICC

Claims.

ANSWER: Admitted that Homeland has made reasonable requests that CPL provide
Homeland with information and documents that Homeland needs in order to promptly and
fairly complete its coverage investigation, but that CPL has repeatedly failed to provide that
requested information and documents. Except as expressly admitted, Homeland denies the
allegations of paragraph 63.




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         64.      In response to these information requests, CPL and/or its broker provided

continual updates to Homeland regarding the status of the ICC Claims (including the Ms. S

Claim) and provided information and materials responsive to certain of Homeland’s requests,

to the extent reasonably possible, including via updates on April 21, 2018, May 30, 2018,

July 18, 2018, December 24, 2018, February 20, 2019, March 12, 2019, March 15, 2019, and

April 17, 2019, and May 1, 2019. In most (if not all) of those updates, CPL demanded that

Homeland make a coverage determination with respect to the ICC Claims, broadly, and the

specific ICC Claims at-issue (e.g., the Ms. S Claim). Homeland refused to do so.

ANSWER: Admitted that CPL has provided limited information and documents in response
to Homeland’s requests.         Denied that CPL has provided Homeland with all of the
information and documents that its needs to promptly and fairly complete its coverage
investigation. Except as expressly admitted, Homeland denies the allegations of paragraph
64.


         65.      Homeland’s “investigation” was not conducted in good faith but was rather a

tactic to delay final coverage determinations for the Ms. S claim and other ICC Claims for

over two years, all the while having no intention of ever covering CPL for any of the ICC

Claims.

ANSWER: Denied.


         66.      Upon information and belief, Homeland’s tactics may have been driven not by

what the 2017 Policies cover and do not cover, or by its obligations as an insurer under

Texas law, but by its desire to limit its exposure and lower its bottom line.




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ANSWER: Denied.


         67.      Indeed, Homeland no longer issues medical liability policies like the 2017

Policies. Upon information and belief, Homeland stopped issuing such policies because they

proved to be less profitable than other lines of insurance. By putting its own business

considerations ahead of its insured’s, Homeland necessarily acted in bad faith and in

violation of the Texas Insurance Code.

ANSWER: Admitted that Homeland presently does not write healthcare liability policies.
Except as expressly admitted, Homeland denies the allegations of paragraph 67.


H.       Homeland Denies CPL’s Request for Coverage for the Ms. S Litigation Based on
         Information Homeland Possessed for More Than Two Years.
         68.      On May 1, 2019, CPL requested that Homeland participate in and/or contribute

toward the defense for the Ms. S claim, but Homeland refused to do so. CPL therefore

undertook its own defense but yet continued to provide Homeland with frequent litigation

updates, including updates on August 5, 2019, September 18, 2019, and October 2, 2019.

CPL also demanded a final coverage determination, but Homeland refused to provide one.

ANSWER: Admitted that because the Worldwide Territory Endorsement provides for only
a duty to reimburse—as opposed to a duty to defend—Homeland’s only potential duty to pay
with respect to any of the CervicalCheck claims filed in Ireland could be triggered only upon
CPL’s payment of covered defense expenses and/or loss in excess of the 2017 primary
policy’s deductible. Further admitted that Homeland has explained to CPL the number of
obstacles to coverage that Homeland believes CPL faces with respect to the Ms. S claim, and
that Homeland provided CPL with an additional opportunity to provide Homeland with the
requested documents and information that might provide a basis for Homeland to find



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coverage in CPL’s favor, but to date CPL has failed to do so. Except as expressly admitted,
Homeland denies the allegations of paragraph 68.


         69.      On October 13, 2019, CPL invited Homeland to participate in a mediation in

hopes of resolving the Ms. S Claim. Homeland did not do so.

ANSWER: Denied.


         70.      Prior to the mediation, on October 17, 2019, CPL requested Homeland’s

consent to settle the Ms. S Claim for an amount within a specified range. Homeland agreed

that if CPL settled the Ms. S Claim within that range, Homeland would not raise lack of

consent as a coverage defense.

ANSWER: Admitted that Homeland advised CPL that if it found an opportunity to settle
the Ms. S claim for an amount that CPL deemed reasonable, Homeland would not raise the
lack of its consent to the settlement as a coverage defense. Further admitted that Homeland
waived that policy provision for the purpose of the Ms. S claim so that CPL would have the
best possible opportunity to reach a settlement that it deemed reasonable, but that Homeland
did not waive any other rights or defenses it may have under the policy, including the right to
challenge the reasonableness of any settlement of the Ms. S claim. Except as expressly
admitted, Homeland denies the allegations of paragraph 70.


         71.      On October 30, 2019, CPL settled the Ms. S Claim within the agreed-upon

range and for an amount in excess of $75,000.

ANSWER: Upon information and belief, admitted that the Ms. S claim settled for an
amount in excess of $75,000. Except as expressly admitted, Homeland denies the allegations
of paragraph 71.



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         72.      CPL promptly provided Homeland with notice of the settlement on November

1, 2019 and requested coverage. Homeland refused to cover the settlement, asserting that the

Policies are for reimbursement only.

ANSWER: Admitted that because the Worldwide Territory Endorsement provides for only
a duty to reimburse—as opposed to a duty to defend—Homeland’s only potential duty to pay
with respect to any of the CervicalCheck claims filed in Ireland could be triggered only upon
CPL’s payment of covered defense expenses and/or loss in excess of the 2017 primary
policy’s deductible. Except as expressly admitted, Homeland denies the allegations of
paragraph 72.


         73.      After the Ms. S Claim was funded, CPL presented its itemized claim for

reimbursement to Homeland by letter dated May 13, 2020. CPL demanded reimbursement of

an amount in excess of $2,000,000.

ANSWER: Admitted that on or about May 13, 2020, CPL provided notice that it contended
it had paid covered defense expenses and/or loss in excess of the 2017 primary policy’s
deductible and asked for reimbursement. Except as expressly admitted, Homeland denies the
allegations of paragraph 73.


         74.      On or about July 10, 2020, Homeland denied CPL’s claim for reimbursement.

ANSWER: Admitted that Homeland appropriately denied the Ms. S claim on July 10, 2020
based on the information known to date. Except as expressly admitted, Homeland denies the
allegations of paragraph 74.


         75.      Homeland based its denial on the grounds set forth in Homeland’s Complaint



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for Declaratory Relief at paragraph 155. See Pl.’s Compl. ¶ 155. Homeland’s grounds for

denial were not supported by the information obtained through Homeland’s two-plus year

“investigation,” but rather on information Homeland possessed years earlier. Thus,

Homeland’s investigation of the claim was nothing more than a delay of a final coverage

determination for ICC Claims that Homeland never intended to cover, despite that one of the

reasons CPL sought worldwide coverage was to protect against the risk of claims like the

ICC Claims.

ANSWER: Admitted that Homeland appropriately denied the Ms. S claim based on
multiple grounds, including those that are at issue in this present coverage action, based on
the information known to date. Except as expressly admitted, Homeland denies the
allegations of paragraph 75.


I.       The Ms. A, Ms. OD, and Ms. CR Claims, and the Other ICC Claims.
         76.      Other ICC Claims have settled beyond the Ms. S Claim. Such include the Ms.

A, Ms. O, and Ms. CR Claims. Homeland has refused to cover those claims for the same

reasons it refuses to cover the Ms. S Claim.

ANSWER: Upon information and belief, admitted that other ICC claims have purportedly
settled, including the Ms. A, Ms. O, and Ms. CR claims. Further admitted that, because
Homeland has been precluded from completing its coverage investigation, and because this
coverage action is ongoing, Homeland has not yet agreed to provide coverage for any of the
other ICC claims. Except as expressly admitted, Homeland denies the allegations of
paragraph 76.


         77.      Homeland has not agreed to cover any costs associated with any of the ICC




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Claims.

ANSWER: Admitted that, because Homeland has been precluded from completing its
coverage investigation, and because this coverage action is ongoing, Homeland has not yet
agreed to provide coverage for any of the other ICC claims. Except as expressly admitted,
Homeland denies the allegations of paragraph 77.


         78.      Homeland has instead filed a declaratory judgment action in this case in which

it seeks a declaration that it has no obligation to cover, and therefore Homeland has

expressed an intent to deny coverage for, any past, present, or future ICC Claims.

ANSWER: Admitted that Homeland filed this action, in which it seeks a declaratory
judgment regarding the scope of its coverage obligations. Except as expressly admitted,
Homeland denies the allegations of paragraph 78.


         79.      By refusing to cover the ICC Claims, Homeland has materially breached its

contractual obligations under the 2017 Policies and/or anticipatorily breached its obligations

under those policies. Furthermore, Homeland—by way of, among other things, its two-plus

year “investigation” into coverage, its myriad unreasonable information requests, its years-

long claims-handling delays, its misrepresentation of and/or failure to consider certain key

policy terms, and its decision at the outset to deny coverage—has engaged in bad faith

claims-handling, investigating, settlement, and payment practices under Texas law. As a

direct and proximate result, CPL has paid and incurred more than $2,000,000 that Homeland

owes CPL under the 2017 Policies.

ANSWER: Denied.




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                                     CAUSES OF ACTION

                        COUNT I – BREACH OF CONTRACT AND
                        ANTICIPATORY BREACH OF CONTRACT

         80.      The foregoing allegations are incorporated herein by reference.

ANSWER: Homeland incorporates by reference the foregoing paragraphs of this Answer as
though fully set forth herein.


         81.      The Policies are valid and enforceable contracts.

ANSWER: Denied that the Policies are valid and enforceable contracts with respect to any
claims arising out of work related to the Irish contract for cervical cytology screening
services.


         82.      CPL is an insured under the 2017 Policies and therefore has standing to assert

claims under the 2017 Policies.

ANSWER: Admitted that CPL is an insured under the Policies subject to their terms and
conditions, but denied that Endorsement 13 to the Primary Policy is a valid and enforceable
Endorsement to the Policy, and denied that any of the Defendants in this action or other
insureds (CPL, MedLab Pathology, Sonic Healthcare, USA, Sonic Healthcare (Ireland)
Limited, and Sonic Healthcare Limited) are insureds under the Policies with respect to any
claims arising out of work related to the Irish contract for cervical cytology screening
services. Denied that CPL has standing to assert claims under the Policies with respect to
any claims arising out of work related to the Irish contract for cervical cytology screening
services. Except as expressly admitted, Homeland denies the allegations of paragraph 82.


         83.      CPL has satisfied all conditions precedent under the 2017 Policies.

ANSWER: Denied.


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         84.      The terms of the 2017 Policies unambiguously provide coverage for the costs

associated with the Ms. S Claim, Ms. A Claim, Ms. OD Claim, Ms. CR Claim, and all other

past, present, and future ICC Claims that trigger the 2017 Policies.

ANSWER: Denied.


         85.      Alternatively, the terms of the Policies are ambiguous with respect to coverage

and should therefore be construed in favor of CPL, in accord with Texas law.

ANSWER: Denied.


         86.      Homeland has breached the 2017 Policies and/or has expressly indicated its

intent to breach the 2017 Policies by refusing to reimburse and/or by expressly indicating its

intent to refuse to reimburse CPL for the costs associated with the Ms. S Claim, Ms. A

Claim, Ms. OD Claim, Ms. CR Claim, and all other past, present, and future ICC Claims that

trigger the 2017 Policies. Those claims are covered by the 2017 Policies, but Homeland has

refused to cover them and instead has filed a lawsuit in which it argues that it should never

have to cover any of the costs associated with the ICC Claims.

ANSWER: Denied.


         87.      Homeland has breached the 2017 Policies and/or has anticipatorily breached

the 2017 Policies.

ANSWER: Denied.


         88.      Homeland’s breaches have caused CPL substantial damages in excess of


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$2,000,000.

ANSWER: Denied.


           COUNT II – CHAPTER 542 OF THE TEXAS INSURANCE CODE

         89.      The foregoing allegations are incorporated herein by reference.

ANSWER: Homeland incorporates by reference the foregoing paragraphs of this Answer as
though fully set forth herein.


         90.      CPL has made a claim under the 2017 Policies for coverage for the Ms. S

Claim, Ms. A Claim, Ms. OD Claim, Ms. CR Claim, and all other past, present, and future

ICC Claims that trigger the 2017 Policies.

ANSWER: Denied.


         91.      CPL has satisfied all conditions precedent under the Policies.

ANSWER: Denied.


         92.      Homeland has engaged in conduct that constitutes a violation of Chapter 542

of the Texas Insurance Code by delaying its handling and investigation of the claim and/or

failing to timely pay CPL’s outstanding defense and indemnity costs and expenses that are

associated with the Ms. S Claim, Ms. A Claim, Ms. OD Claim, Ms. CR Claim, and all other

past, present, and future ICC Claims.

ANSWER: Denied.


         93.      Consequently, CPL is entitled to the damages set forth in § 542.060 of the



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Texas Insurance Code. Specifically, in addition to the amount of CPL’s costs associated with

those claims, CPL is owed interest at the rate of eighteen percent (18%) per annum as well as

any and all other relief provided by the statute.

ANSWER: Denied.


          COUNT III – CHAPTER 541 OF THE TEXAS INSURANCE CODE

         94.      The foregoing allegations are incorporated herein by reference.

ANSWER: Homeland incorporates by reference the foregoing paragraphs of this Answer as
though fully set forth herein.


         95.      Homeland has engaged in unfair or deceptive acts or practices as defined by

Section 541.060 of the Texas Insurance Code.

ANSWER: Denied.


         96.      Homeland misrepresented or omitted material facts and/or policy provisions

relating to coverage for the ICC Claims in violation of Section 541.060(a)(1) and 541.061 of

the Texas Insurance Code by relying on the knowledge of other insureds as a basis for

denying coverage for the ICC Claims when the 2017 Policies expressly provide that “no

knowledge or information possessed by any Insured shall be imputed to any other Insured.”

ANSWER: Denied.


         97.      Homeland violated Section 541.060(a)(2) of the Texas Insurance Code by

failing to attempt in good faith to effectuate a prompt, fair and equitable settlement of the

ICC Claims and by instead deciding to deny coverage of the ICC Claims immediately after


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(if not before) it received notice of the potential for those claims and long before Homeland

had an opportunity to conduct a real and meaningful investigation of those claims.

ANSWER: Denied.
         98.      Homeland violated Section 541.060(a)(2) of the Texas Insurance Code by

failing to attempt in good faith to effectuate a prompt, fair and equitable settlement of the

ICC Claims and by instead engaging in a two-plus year “investigation” that consisted of

dozens (if not hundreds) of unreasonable and harassing information requests that were aimed

at fabricating bases for denying coverage.

ANSWER: Denied.


         99.      Homeland violated Section 541.060(a)(2) of the Texas Insurance Code by

failing to attempt in good faith to effectuate a prompt, fair and equitable settlement of the

ICC Claims and by refusing to issue a final coverage determination regarding the Ms. S

Claim and other ICC Claims within a two-plus year period and by otherwise delaying its

coverage determination process.

ANSWER: Denied.


         100.     Homeland violated Section 541.060(a)(3) of the Texas Insurance Code by

failing to provide CPL with a prompt and reasonable explanation of whether it was denying

coverage for the ICC Claims and upon what grounds its denial is based and by instead

waiting over two years to issue a coverage determination when CPL requested such a

determination on several occasions.

ANSWER: Denied.


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         101.     Homeland violated Section 541.060(a)(4) of the Texas Insurance Code by

failing within a reasonable time to affirm or deny coverage of the ICC Claims and by instead

waiting over two years to issue a coverage determination when CPL had requested a

determination on several occasions.

ANSWER: Denied.


         102.     Homeland violated Section 541.060(a)(5) of the Texas Insurance Code by

suggesting that other insurers may be responsible for some or all of the costs associated with

the ICC Claims.

ANSWER: Denied.


         103.     Homeland violated Section 541.060(a)(7) of the Texas Insurance Code by

refusing to cover any of the ICC Claims without conducting a reasonable investigation and

by instead engaging in a two-plus year “investigation” that consisted of dozens (if not

hundreds) of unreasonable and harassing requests that were aimed at fabricating bases for

denying coverage.

ANSWER: Denied.


         104.     As a result of Homeland’s violations of Chapter 541 of the Texas Insurance

Code, CPL has sustained substantial damages, including the denial of covered benefits and

payments due under the 2017 Policies.

ANSWER: Denied.



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         105.     Homeland, either directly or through its agents, knowingly committed the

violations of Section 541.060 of the Texas Insurance Code referenced above. CPL therefore

seeks, in addition to actual damages, court costs, and attorneys’ fees, an amount not to

exceed three times CPL’s actual damages, in accordance with the Texas Insurance Code.

ANSWER: Denied.


                              COUNT IV – ATTORNEYS’ FEES

         106.     The foregoing allegations are incorporated herein by reference.

ANSWER: Homeland incorporates by reference the foregoing paragraphs of this Answer as
though fully set forth herein.


         107.     Due to the actions of Homeland, CPL has been required to retain the services

of the law firms of Haynes and Boone, LLP and Germer Beaman & Brown PLLC. CPL has

agreed to pay those firms a reasonable fee for their services necessarily rendered and to be

rendered in this action. Pursuant to Section 38.001 of the Texas Civil Practice & Remedies

Code and/or Chapters 542 and 541 of the Texas Insurance Code, CPL is entitled to an award

of its reasonable attorneys’ fees against Homeland in an amount to be established at trial.

ANSWER: Denied.


                                       JURY DEMAND

         CPL demands a jury trial on all issues contained in this Counterclaim that are so
triable.




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                               COUNTERCLAIM PRAYER

         WHEREFORE, Counter-Plaintiff CPL requests the following relief against Counter-
Defendant Homeland:
         (1) Judgment awarding CPL all damages caused by Homeland’s breaches and/or
anticipatory breaches of the Policies;
         (2) Judgment awarding CPL all damages sustained as a result of Homeland’s
violations of Chapter 542 of the Texas Insurance Code (including but not limited to 18%
interest);
         (3) Judgment awarding CPL all damages sustained as a result of Homeland’s
violations of Chapter 541 of the Texas Insurance Code (including but not limited to treble
damages);
         (4) Judgment awarding CPL all reasonable and necessary attorneys’ fees incurred in
this matter under Chapter 38 of the Texas Civil Practice & Remedies Code and Chapters 541
and 542 of the Texas Insurance Code;
         (5) Judgment awarding CPL pre-judgment and post-judgment interest in the amount
allowed by law;
         (6) Judgment awarding CPL all costs of court; and
         (7) Such other and further relief to which CPL may be justly entitled.
ANSWER: Denied that CPL is entitled to any of the relief requested in its Prayer.


                        HOMELAND’S AFFIRMATIVE DEFENSES


         Without conceding that it has the burden of proof as to any of these matters,

Homeland submits the following defenses:




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                              FIRST AFFIRMATIVE DEFENSE

                                    (Failure to State a Claim)

         Each of CPL’s purported Counterclaims for relief fail to state any claim against

Homeland upon which relief can be granted.



                             SECOND AFFIRMATIVE DEFENSE

                                  (Prior Knowledge Exclusion)

         The purported Counterclaims for relief are barred by the following (D)(1) Prior

Knowledge Exclusion:

         (D) Except as otherwise expressly provided in this Policy, this Policy does not apply
         to, and the Underwriter will not pay Loss or Defense Expenses, for any Claim based
         upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
         way involving any actual or alleged:

                  (1) act, error, omission or Wrongful Act if, on or before the Inception Date set
                  forth in ITEM 2 of the Declarations, the Risk Management Dept or Legal Dept
                  or any Executive of the Named Insured knew or reasonably could have
                  foreseen that such act, error, omission, or Wrongful Act might result in a
                  Claim.

                  If, however, this Policy is a renewal of one or more policies previously issued
                  by the Underwriter to the First Named Insured, and the coverage provided by
                  the Underwriter to the First Named Insured was in effect, without interruption,
                  for the entire time between the inception date of the first such other policy and
                  the Inception Date of this Policy, the reference in this EXCLUSION (D)(1) to
                  the Inception Date will be deemed to refer instead to the inception date of the
                  first policy under which the Underwriter began to provide the First Named
                  Insured with the continuous and uninterrupted coverage of which this Policy is
                  a renewal;

         All other terms, conditions and limitations of this Policy shall remain unchanged.

Primary Policy, § III, (D)(1) Prior Knowledge Exclusion, as amended by Endorsement



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No. 19.



                              THIRD AFFIRMATIVE DEFENSE

                                     (Prior Notice Exclusion)

         The purported Counterclaims for relief are barred by the following (D)(2) Prior

Notice Exclusion:

         (D) Except as otherwise expressly provided in this Policy, this Policy does not apply
         to, and the Underwriter will not pay Loss or Defense Expenses, for any Claim based
         upon, arising out of, directly or indirectly resulting from, in consequence of, or in any
         way involving any actual or alleged:

                  (2) act, error, omission, Wrongful Act, event, suit or demand which was the
                  subject of any notice given under:

                         (a) any medical professional liability or similar policy of insurance or
                         plan or program of self-insurance, with respect to any Claim otherwise
                         covered under INSURING AGREEMENT (A);

                         (b) any general liability or similar policy of insurance or plan or
                         program of self-insurance, with respect to any Claim otherwise
                         covered under INSURING AGREEMENT (B); or

                         (c) any employee benefit liability or similar policy of insurance or plan
                         or program of self-insurance, with respect to any Claim otherwise
                         covered under INSURING AGREEMENT (C);

                  in effect prior to the Inception Date set forth in ITEM 2 [June 30, 2017] of the
                  Declarations;

Primary Policy, § III, (D)(2) Prior Notice Exclusion.



                            FOURTH AFFIRMATIVE DEFENSE

                                  (Material Misrepresentation)



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         To the extent that CPL or any insured made a material misrepresentation during the

claim or in connection with an insurance application, the purported Counterclaims for relief

are barred.



                            FIFTH AFFIRMATIVE DEFENSE

                                        (Concealment)

         To the extent that CPL or any insured concealed a material fact from Homeland

during the claim or in connection with an insurance application, the purported Counterclaims

for relief are barred.



                            SIXTH AFFIRMATIVE DEFENSE

                                    (Condition Precedent)

         The purported Counterclaims for relief are barred to the extent that CPL or any

insured failed to perform certain conditions precedent to any obligations or indebtedness

which Homeland might otherwise have had toward them.



                          SEVENTH AFFIRMATIVE DEFENSE

                                    (Breach of Warranty)

         The purported Counterclaims for relief are barred by breach of the specific warranties

in the July 27, 2016 Warranty Letter upon which Homeland conditioned issuing coverage to

CPL (and the other Defendants) with respect to claims arising out of work related to the Irish

contract for cervical cytology screening services.


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                          EIGHTH AFFIRMATIVE DEFENSE

                              (Unilateral or Mutual Mistake)

         The purported Counterclaims for relief are barred because the parties intended to

exclude certain risks under the Policies, including the ICC claims, pursuant to the warranties

provided in the July 27, 2016 Warranty Letter for which the Defendants were either mistaken

in so warranting, or inequitably induced Homeland to unilaterally mistake in so believing,

such that the Policies were issued contrary to the actual understanding of the parties.



                           NINTH AFFIRMATIVE DEFENSE

                                   (Failure to Mitigate)

         Without in any way admitting that CPL was in any way damaged, or that it was

damaged by any conduct of Homeland, CPL’s purported Counterclaims are barred to the

extent that CPL failed to mitigate its damages, if any, alleged or otherwise, and is therefore

estopped from making or pursuing any claim thereon.



                          TENTH AFFIRMATIVE DEFENSE

                          (Comparative or Contributory Fault)

         Without in any way admitting that CPL was in any way damaged, or that it was

damaged by any conduct of Homeland, the damages complained of were proximately caused

in whole or in part by the comparative or contributory fault and negligence of CPL and/or its

agents and representatives.


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                            ELEVENTH AFFIRMATIVE DEFENSE

                                   (Conduct of Third Parties)

         Without in any way admitting that CPL was in any way damaged, or that it was

damaged by any conduct of Homeland, Homeland is informed and believes, and based

thereon alleges, that if CPL was damaged, the damage was caused in whole or in part by the

acts of third parties other than Homeland.



                             TWELFTH AFFIRMATIVE DEFENSE

                                         (Offset/Credit)

         In the event there is a finding of damages for CPL, such damages must be offset to the

extent CPL received monetary benefits from collateral sources and/or by the amounts CPL

owes to Homeland and/or the credits/offsets to which Homeland is entitled to from CPL.



                           THIRTEENTH AFFIRMATIVE DEFENSE

                        (Breach or Failure to Comply with Contract Terms)

         The purported Counterclaims for relief are barred to the extent that any insured has

breached or not fully complied with all the terms and conditions of the Policies, including

but not limited to the Related Claims, Notice, Territory, Claim, Notice, Assistance and

Cooperation, Representation, No Action Against Underwriter, or Examination of Books and

Records provisions.




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                        FOURTEENTH AFFIRMATIVE DEFENSE

                               (Exclusions From Coverage)

         The purported Counterclaims for relief may be barred and/or limited by one or more

exclusions and limitations contained within the Policies.



                         FIFTEENTH AFFIRMATIVE DEFENSE

                                   (Failure to Cooperate)

         The purported Counterclaims for relief are barred to the extent that CPL failed to

cooperate in Homeland’s attempts to investigate coverage for the ICC claims.



                         SIXTEENTH AFFIRMATIVE DEFENSE

                                          (Waiver)

         The purported Counterclaims for relief are barred to the extent that CPL waived any

rights it may otherwise have had against Homeland.



                        SEVENTEENTH AFFIRMATIVE DEFENSE

                                         (Estoppel)

         Homeland is informed and believes, and based thereon alleges, that CPL is estopped

from asserting its Counterclaims.



                        EIGHTEENTH AFFIRMATIVE DEFENSE

                                      (Unclean Hands)


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         CPL’s Counterclaims against Homeland may be barred by the doctrine of unclean

hands.



                            NINETEENTH AFFIRMATIVE DEFENSE

                                             (Laches)

         CPL’s Counterclaims against Homeland may be barred by the doctrine of laches.



                             TWENTIETH AFFIRMATIVE DEFENSE

                        (Additional Unknown Defenses/Reservation of Rights)

         Homeland is informed and believes and thereupon alleges that it may have other

separate and additional defenses of which it is presently unaware; Homeland reserves the

right to allege other separate and additional defenses upon the discovery of additional facts

during the course of discovery.



                               RELIEF REQUESTED ON ANSWER

         (i)      That CPL take nothing by way of its Counterclaims;

         (ii)     That CPL’s Counterclaims be dismissed with prejudice;

         (iii)    That Homeland recover its costs of court; and

         (iv)     That Homeland be granted such other and further relief, at law and in equity,

                  to which CPL may show itself entitled and that the Court may deem just and

                  proper.




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DATED: July 16, 2021                By:     /s/ John T. Brooks
                                           John T. Brooks (CA Bar #167793)
                                           Jenna A. Fasone (CA Bar #308886)
                                           Jared K. LeBeau (CA Bar #292742)
                                           SHEPPARD, MULLIN, RICHTER & HAMPTON, LLP
                                           501 West Broadway, 19th Floor
                                           San Diego, CA 92101
                                           Telephone: (619) 338-6500
                                           Fax: (619) 234-3815
                                           jbrooks@sheppardmullin.com
                                           jfasone@sheppardmullin.com
                                           jlebeau@sheppardmullin.com
                                           Admitted pro hac vice

                                           Joseph R. Little (#784483)
                                           The Little Law Firm
                                           440 Louisiana Street, Suite 900
                                           Houston, Texas 77002
                                           Telephone: (713) 222-1368
                                           Fax: (281) 200-0115
                                           jrl@littlelawtexas.com

                                           Attorneys for Plaintiff and Counterclaim
                                           Defendant Homeland Insurance Company of
                                           New York




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true copy of this document was served upon

counsel of record for all parties who have made an appearance in this case at the addresses

indicated by CM/ECF electronic notification on this 16th day of July, 2021. I declare under

penalty of perjury that the foregoing is true and correct.



                                                  /s/ John T. Brooks




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